









Dismissed and Memorandum Opinion filed September 8, 2005









Dismissed and Memorandum Opinion filed September 8,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00758-CR

____________

&nbsp;

ANDREW LUCAS RODRIGUEZ,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
230th District Court

Harris County, Texas

Trial Court Cause No. 1032460

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to the offense of possession
of a controlled substance.&nbsp; In accordance
with the terms of a plea bargain agreement with the State, the trial court
entered an order on July 6, 2005, deferring adjudication of guilt, placing
appellant on two years= community supervision, and assessing a $500 fine.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; Because appellant has no right
to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed September 8, 2005.

Panel consists of Justices Hudson,
Frost, and Seymore.&nbsp; 

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





